           Case1:20-cv-01323-JGK
          Case  1:20-cv-01323-JGK Document
                                   Document47 Filed
                                               Filed02/19/20
                                                     02/21/20 Page
                                                               Page11ofof99



                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

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                                                                          DCC#
SECURITIES AND EXCHANGE COMMISSION,                                                       J. -~r-®--
                                                                          D/.,IE FILE'.):._

                                      Plaintiff,
                                                           Case No. I :20-cv-0 13123-JGK
                           V.

JON L. ARONSON and
ELLIET N. ARONSON,

                                       Defendants.




               FINAL JUDGMENT AS TO DEFENDANT JON L. ARONSON

       The Securities and Exchange Commission having filed a Complaint and Defendant Jon

L. Aronson hav ing entered a general appearance; consented to the Court's jurisdiction over

Defendant and the subject matter of this action; consented to entry of this Final Judgment

without admitting or denying the allegations of the Complaint (except as to jurisdiction and

except as otherwise provided herein in paragraph 11); waived findings of fact and conclusions of

law; and waived any right to appeal from this Final Judgment:

                                                   I.

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

permanentl y restrained and enjoined from vio lating, directly or indirectly, Section I 0(b) of the

Securities Exchange Act of 1934 (the "Exchange Act") [ 15 U.S .C . § 78j(b )] and Rule I 0b-5

promulgated thereunder [ 17 C.F.R. § 240.1 0b-5], by using any means or instrumentality of

interstate commerce, or of the mails, or of any facility of any national securities exchange, in

connection with the purchase or sale of any security:
              Case1:20-cv-01323-JGK
             Case  1:20-cv-01323-JGK Document
                                      Document47 Filed
                                                  Filed02/19/20
                                                        02/21/20 Page
                                                                  Page22ofof99




       (a)      to employ any device, scheme, or artifice to defraud;

       (b)      to make any untrue statement of a material fact or to omit to state a material fact

                necessary in order to make the statements made, in the light of the circumstances

                 under which they were made, not misleading; or

       (c)       to engage in any act, practice, or course of business which operates or would

                 operate as a fraud or deceit upon any person.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant' s

officers , agents, servants, employees, and attorneys ; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a) .

                                                  II.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant is liable

for a civil penalty in the amount of $20,310.72 pursuant to Exchange Act Section 21 A [ 15

U .S.C. § 78u-l]. Defendant shall satisfy this obligation by paying $20,310.72 to the Securities

and Exchange Commission within 30 days after entry of this Final Judgment.

        Defendant may transmit payment electronically to the Commission, which will provide

detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly

from a bank account via Pay.gov through the SEC website at

http ://www.sec.gov/about/offices/ofm.htm . Defendant may also pay by certified check, bank

cashier ' s check, or United States postal money order payable to the Securities and Exchange

Commission, which shall be delivered or mailed to

        Enterprise Services Center
        Accounts Receivable Branch


                                                   2
           Case1:20-cv-01323-JGK
          Case  1:20-cv-01323-JGK Document
                                   Document47 Filed
                                               Filed02/19/20
                                                     02/21/20 Page
                                                               Page33ofof99




       6500 South MacArthur Boulevard
       Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action number, and name of

this Court; Jon L. Aronson as a defendant in this action; and specifying that payment is made

pursuant to this Final Judgment.

       Defendant shall simultaneously transmit photocopies of evidence of payment and case

identifying information to the Commission ' s counsel in this action. By making this payment,

Defendant relinquishes all legal and equitable right, title, and interest in such funds and no part

of the funds shall be returned to Defendant. The Commission shall send the funds paid pursuant

to this Final Judgment to the United States Treasury.

       The Commission may enforce the Court's judgment for disgorgement and prejudgment

interest by moving for civil contempt (and/or through other collection procedures authorized by

law) at any time after 30 days following entry of this Final Judgment. Defendant shall pay post

judgment interest on any delinquent amounts pursuant to 28 U.S .C. § 1961 .

                                                      III.

        IT IS FURTHER ORDERED, ADWDGED, AND DECREED that, solely for purposes of

exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. §523 , the

allegations in the complaint are true and admitted by Defendant, and further, any debt for

disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under this

Final Judgment or any other judgment, order, consent order, decree or settlement agreement

entered in connection with this proceeding, is a debt for the violation by Defendant of the federal

securities laws or any regulation or order issued under such laws , as set forth in Section

523(a)(l 9) of the Bankruptcy Code, 11 U.S.C . §523(a)(l 9).




                                                  3
              Case1:20-cv-01323-JGK
             Case  1:20-cv-01323-JGK Document
                                      Document47 Filed
                                                  Filed02/19/20
                                                        02/21/20 Page
                                                                  Page44ofof99



                                                      IV.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.


Dated:   -
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                                                             . JOHN G. KOELTL
                                                            STA TES DISTRICT JUDGE




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             ase 1:20-cv-01323-JGK Document47 Filed
                                              Filed02/19/20
                                                    02/21/20 Page
                                                             Page55ofof99




                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK



 SECURJTIES AND EXCHANGE COMMISSION,

                                      Plaintiff,
                                                              Case No. \ t J   . \.. .,_\ -   c \ ·7 i l   -   .JG ,(
                           V.

 JON L. ARONSON and
 ELLIET N. ARONSON,

                                      Defendants.



                      CONSENT OF DE.F ENDANT JON L. ARONSON

          l.   Defendant Jon L. Aronson ("Defendant") waives service of a summons and the

complaint in this action, enters a general appearance, and admits the Court's jurisdiction over

Defendant and over the subject matter of this action.

          2.   Without admitting or denying the allegations of the complaint (except as provided

herein in paragraph 11 and except as to personal and subject matter jurisdiction, which

Defendant admits), Defendant hereby consents to the entry of the final Judgment in the form

attached hereto (the 11 Final Judgment") and incorporated by reference herein, which, among other

things:

               (a)    permanently restrains and enjoins Defendant from violation of Section

                       lO(b) of the Securities Exchange Act of 1934 (15 U.S.C. § 78j(b)]

                      ("Exchange Act") and Rule lOb-5 thereunder (17 C.F.R § 240. l0b-5]; and

               (b)    orders Defendant to pay a civil penalty in the amount of $20,310.72 under

                      Exchange Act Section 21A [15 U.S .C. § 78u-1).
            Case 1:20-cv-01323-JGK
            Case 1:20-cv-01323-JGK Document
                                   Document 47 Filed
                                               Filed 02/19/20
                                                     02/21/20 Page
                                                              Page 66 of
                                                                      of 99




       3.       Defendant agrees that he shall not seek or accept, directly or indirectly,

reimbursement or indemnification from any source, including but not limited to payment made

pursuant to any insurance policy, with regard to any civil penalty amounts that Defendant pays

pursuant to the Final Judgment, regardless of whether such penalty amounts or any part thereof

are added to a distribution fund or otherwise used for the benefit of investors. Defendant further

agrees that he shall not claim, assert, or apply for a tax deduction or tax credit with regard to any

federal, state, or local tax for any penalty amounts that Defendant pays pursuant to the Final

Judgment, regardless of whether such penalty amounts or any part thereof are added to a

distribution fund or otherwise used for the benefit of investors.

       4.       Defendant waives the entry of findings of fact and conclusions oflaw pursuant to

Rule 52 of the Federal Rules of Civil Procedure.

       5.       Defendant waives the right, if any, to a jury trial and to appeal from the entry of

the Final Judgment.

       6.       Defendant enters into this Consent voluntarily and represents that no threats,

offers, promises, or inducements of any kind have been made by the Commission or any

member, officer, employee, agent, or representative of the Commission to induce Defendant to

enter into this Consent.

       7.       Defendant agrees that this Consent shall be incorporated into the Final Judgment

with the same force and effect as if fully set forth therein.

       8.       Defendant will not oppose the enforcement of the Final Judgment on the ground,

if any exists, that it fails to comply with Rule 65(d) of the Federal Rules of Civil Procedure, and

hereby waives any objection based thereon.

       9.       Defendant waives service of the Final Judgment and agrees that entry of the Final



                                                   2
          Case 1:20-cv-01323-JGK Document 7
                                          4 Filed  02/21/20 Page 7 of 9
                                            Fi led 02/19/20           g




Judgment by the Court and filling with the Clerk of the Court will constitute notice to Defendant

of its terms and conditions. Defendant further agrees to provide counsel for the Commission,

within thirty days after the Final Judgment is filed with the Clerk of the Court, with an affidavit

or declaration stating that Defendant has received and read a copy of the Final Judgment.

        10.    Consistent with 17 C.F.R 202.S(f), this Consent resolves only the claims asserted

against Defendant in this civil proceeding. Defendant acknowledges that no promise or

representation has been made by the Commission or any member, officer, employee, agent, or

representative of the Commission with regard to any criminal liability that may have arisen or

may arise from the facts underlying this action or immunity from any such criminal liability.

Defendant waives any claim of Double Jeopardy based upon the settlement of this proceeding,

including the imposition of any remedy or civil penalty herein. Defendant further acknowledges

that the Court's entry of a permanent injunction may have collateral consequences under federal

or state law and the rules and regulations of self-regulatory orgauiz.ations, licensing boards,. and

other regulatory organizations. Such collateral consequences include, but are not limited to, a

statutory disqualification with respect to membership or participation in, or association with a

member of, a self-regulatory organiz.ation. This statutory disqualification has consequences that

are separate from any sanction imposed in an administrative proceeding. In addition, in any

disciplinary proceeding before the Commission based on the entry of the injunction in this

action, Defendant understands that he shall not be permitted to contest the factual allegations of

the complaint in this action.

        11 .   Defendant understands and agrees to comply with the terms of 17 C.F.R.

§ 202.S(e), which provides in part that it is the Commission's policy "not to permit a defendant or

respondent to consent to a judgment or order that imposes a sanction while denying the



                                                  3
          Case
          Case 1:20-cv-01323-JGK
               1:20-cv-01323-JGK Document
                                 Document 74 Filed
                                             Fi led 02/21/20
                                                    02/19/20 Page 88 of 9g




allegations in the complaint or order for proceedings," and ''a refusal to admit the allegations is

equivalent to a denial, unless the defendant or respondent states that he neither admits nor denies

the allegations. " As part of Defendant's agreement to comply with the terms of Section 202.S(e),

Defendant: (i) will not take any action or make or permit to be made any public statement

denying, directly or indirectly, any allegation in the complaint or creating the impression that the

complaint is without factual basis; (ii) will not make or permit to be made any public statement

to the effect that Defendant does not admit the allegations of the complaint, or that this Consent

contains no admission of the allegations, without also stating that Defendant does not deny the

allegations; (iii) upon the filing of this Consent, Defendant hereby withdraws any papers filed in

this action to the extent that they deny any allegation in the complaint; and (iv) stipulates solely

for purposes of exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11

U.S .C. §523, that the allegations in the complaint are true, and further, that any debt for

disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under the

Final Judgment or any other judgment, order, consent order, decree or settlement agreement

entered in connection with this proceeding, is a debt for the violation by Defendant ofthe federal

securities laws or any regulation or order issued under such laws, as set forth in Section

523(a)(19) of the Bankruptcy Code, 11 U.S.C. §523(a)(l9). If Defendant breaches this

agreement, the Commission may petition the Court to vacate the Final Judgment and restore this

action to its active docket. Nothing in this paragraph affects Defendant's; (i) testimonial

obligations; or (ii) right to take legal or factual positions in litigation or other legal proceedings

in whlch the Commission is not a party.

        12.     Defendant hereby waives any rights under the Equal Access to Justice Act, the

Small Business Regulatory Enforcement Fairness Act of 1996, or any other provision of law to



                                                    4
          Case
           Case1:20-cv-01323-JGK
                1:20-cv-01323-JGK Document
                                   Document74 Filed
                                               Fil ed02/21/20
                                                      02/19/20 Page
                                                                Page9gofof9g




seek from the United States, or any agency, or any official of the United States acting in his or

her official capacity, directly or indirectly, reimbursement of attorney's fees or other fees,

expenses, or costs expended by Defendant to defend against this action. For these purposes,

Defendant agrees that Defendant is not the prevailing party in this action since the parties have

reached a good faith settlement.

        13.    Defendant agrees that the Commission may present the Final Judgment to the

Court for signature and entry without further notice.

        14.    Defendant agrees that this Court shall retain jurisdiction over this matter for the

purpose of enforcing the tenns of the Final Judgment.



Dated: December    J...3..., 2019

       On Decembe~ , 2019,           J
                                    O h         L1 r_c"")}'-30  [\__ . a person known to me,
personally appeared before me and ackno~              ~xe ·utin the foregoing Consent.




                                               Commission expires:       I
                                                                       er s-/ZciL..<:::;;
Approved as to form :



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Robert G. Heim, Esq.
Tarter Krinsky & Drogin LLP
1350 Broadway
New York, NY I 0018
(212)216-1131
Attorney for Defendant




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